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                                                        Ex. G




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                                    1773
                                    1930
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                                    1931
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                                    1932
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                                    1
                                    1776
                                    1933
